                                No. 25-1348

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIRST CIRCUIT


               NEW HAMPSHIRE INDONESIAN
   COMMUNITY SUPPORT; LEAGUE OF UNITED LATIN AMERICAN
           CITIZENS; MAKE THE ROAD NEW YORK,

                                             Plaintiffs-Appellees,

                                      v.

               DONALD J. TRUMP, President of the United States,
 in his official capacity; U.S. DEPARTMENT OF HOMELAND SECURITY;
KRISTI NOEM, in their official capacity as Secretary of the U.S. Department of
Homeland Security; U.S. DEPARTMENT OF STATE; MARCO RUBIO, in their
       official capacity as Secretary of the U.S. Department of State; U.S.
DEPARTMENT OF AGRICULTURE; BROOKE L. ROLLINS, in their official
 capacity as Secretary of the U.S. Department of Agriculture; CENTERS FOR
  MEDICARE AND MEDICAID SERVICES; MEHMET OZ, in their official
 capacity as Administrator of the Centers for Medicare and Medicaid Services,

                                           Defendants-Appellants.

         ON APPEAL FROM UNITED STATES DISTRICT COURT FOR THE
   DISTRICT OF NEW HAMPSHIRE, CONCORD, IN CASE NO. 1:25-CV-00038-JL,
           HONORABLE JOSEPH N. LAPLANTE, U.S. DISTRICT JUDGE

     BRIEF OF AMICUS CURIAE SECURE FAMILIES INITIATIVE
    IN SUPPORT OF PLAINTIFFS-APPELLEES AND AFFIRMANCE


       (Continuation of Cover Page and Appearances See Inside Cover)
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                  CORPORATE DISCLOSURE STATEMENT
      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amicus

curiae Secure Families Initiative states that it is a non-profit organization that does

not have owners. As such, there is no corporation that owns stock in SFI.



Date: June 17, 2025                            s/ Anna M. Baldwin
                                               Attorney for Amicus Curiae
                                               Secure Families Initiative




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                          BRIEF OF AMICUS CURIAE
      Amicus Curiae files this brief without leave of court because all parties

consent to its filing. Counsel for amicus curiae authored this brief in whole. No party

or party’s counsel authored any part of this brief, and no person, other than amicus

and its counsel, contributed money to fund its preparation or submission.

                       INTEREST OF AMICUS CURIAE
      Secure Families Initiative (SFI) is a non-partisan, 501(c)(4) non-profit

organization comprised of military spouses and family members. SFI’s mission is to

mobilize diverse military partners, parents, children, and veterans to vote and

advocate for their communities. Recognizing that military families make enormous

sacrifices to strengthen and defend our country, SFI seeks to influence issues of

foreign policy and national security that especially impact SFI’s members. SFI is

committed to increasing the political participation of military voters and their

families through educating, registering, and turning out a network of diverse and

representative military voters in all elections. SFI believes that service members and

their families have a deep and direct stake in having a fully representative

government that is reflective of and responsive to all communities who make up the

country.

      SFI has a strong interest in ensuring that the birthright citizenship, which is a

cornerstone of American democratic equality and vital to the existence of a


                                          1
government that is fully representative of the people, remains the law of the land as

required by the Fourteenth Amendment.

                          SUMMARY OF ARGUMENT
      The Citizenship Clause of the Fourteenth Amendment guarantees birthright

citizenship to all U.S.-born children “within the dominion of the United States,”

regardless of their parents’ citizenship status. United States v. Wong Kim Ark, 169

U.S. 649, 688 (1898). Enshrining birthright citizenship in the Constitution was

central to re-dedicating the country to freedom and equality in the wake of the Civil

War. Adopted in an “effort to purge the United States of the legacy of slavery,”

birthright citizenship under the Fourteenth Amendment “remains an eloquent

statement about the nature of American society,” a powerful force for full inclusion

of the children of immigrants in the polity, “and a repudiation of a long history of

racism.” Eric Foner, The Second Founding: How the Civil War and Reconstruction

Remade the Constitution 70-71 (2019).

      Ending birthright citizenship would deprive millions of Americans of their

foundational right to a representative government and would fundamentally alter and

degrade the democratic equality that all citizens enjoy.




                                          2
                                    ARGUMENT
I.    BIRTHRIGHT CITIZENSHIP IS CENTRAL TO AMERICAN
      DEMOCRATIC EQUALITY
      The Fourteenth Amendment to the United States Constitution sets out the

defining statement of American citizenship. The Citizenship Clause of the

Fourteenth Amendment declares: “All persons born or naturalized in the United

States, and subject to the jurisdiction thereof, are citizens of the United States and of

the State wherein they reside.” U.S. Const. amend. XIV, § 1. The language of the

Citizenship Clause, and its guarantee of birthright citizenship, is not qualified based

on allegiance, domicile, immigration status, race, or country of origin of a person’s

parents.

      The sweep of the Citizenship Clause is broad by design. It was meant to

definitively break with prior race-based restrictions on citizenship and is consistent

with the United States’ common law tradition.

      The Executive Order that President Trump has sought to implement,

Protecting the Meaning and Value of American Citizenship, Exec. Order No. 14,160,

90 Fed. Reg. 8449 (Jan. 20, 2025) (Citizenship Stripping Order), would deny

citizenship to children born within the United States to parents who are

undocumented as well as to parents who have lawful but temporary status. As every

court addressing the question has held, the Citizenship Stripping Order is a gross

betrayal of the guarantees of the Fourteenth Amendment.

                                           3
      A.     The legal principle requiring birthright citizenship has always
             governed in the United States, undercut only by the country’s
             sordid history of slavery.

      From the time of the country’s founding, the United States’ Constitution has

referenced citizenship, including citizenship by birth. U.S. Const. art. I, §§ 1-3; id.

art. IV, § 2. But the Constitution at the founding did not expressly identify who was

(or was not) a U.S. citizen. Defining the scope of that guarantee was largely left to

the common law. Indeed, the Supreme Court has recognized that terms used but not

defined in the Constitution should be read “in the light of” English common law

because the U.S. Constitution is “framed in the language of the English common

law.” Smith v. Alabama, 124 U.S. 465, 478 (1888); see also Carmell v. Texas, 529

U.S. 513, 521 (2000) (finding that for an undefined term in the Constitution “the

necessary explanation is derived from English common law well known to the

Framers”).

      The relevant principle of the English common law is jus soli—the doctrine of

citizenship by place of birth. Early American jurists noted that “nothing is better

settled at the common law” than the principle of jus soli. Inglis v. Trustees of the

Sailor’s Snug Harbor, 28 U.S. (3 Pet.) 99, 164 (1830) (Story, J.); see also Dawson’s

Lessee v. Godfrey, 8 U.S. (4 Cranch) 321 (1808) (applying common law to question

of citizenship); M’Ilvaine v. Coxe’s Lessee, 6 U.S. (2 Cranch) 280 (1805) (same).

U.S. courts also followed the English common law in recognizing that there were a

                                          4
few limited categories of persons born within the United States who were not subject

to its sovereign authority, and therefore not citizens: namely, children of diplomats

and those born to hostile forces during an occupation. Sailor’s Snug Harbor, 28 U.S.

(3 Pet.) at 155-56. Native Americans with tribal relationships were also understood

to fall outside of the United States’ sovereign authority. See Gabriel J. Chin and Paul

Finkelman, Birthright Citizenship, Slave Trade Legislation, and the Origins of

Federal Immigration Regulation, 54 U.C. Davis L. Rev. 2215, 2218 n.5 (2021).

      Of course, up to the Civil War, the common law rule of jus soli existed

alongside the dehumanizing institution of slavery. The tension and contradiction

between the two boiled over in Dred Scott, in which Chief Justice Roger B. Taney

declared that the Constitution “expressly” protected the right of property in slaves,

and that no Black person, “whose ancestors were imported into this country, and sold

as slaves” could “become a member of the political community formed and brought

into existence by the Constitution of the United States.” Dred Scott v. Sanford, 60

U.S. (19 How.) 393, 403, 451 (1857). Dred Scott was very much a decision about

who was included and excluded from the national political community and what

rights flowed from such membership.

      Justice Taney interpreted the words “people of the United States” and

“citizens” to be “synonymous terms” that together describe “the political body who,

according to our republican institutions, form the sovereignty, and who hold the

                                          5
power and conduct the Government through their representatives.” Dred Scott, 60

U.S. (19 How.) at 404. Black persons, “whether emancipated or not” were wholly

outside of Justice Taney’s vision of the body politic. Id. at 405. Under Dred Scott,

Black persons “were permanent aliens,” forever locked out of the national political

community. Foner, The Second Founding 14.

      While Justice Taney acknowledged that states could, if they wished, make free

Black persons citizens, the Court held that neither the federal government nor other

states were obligated to recognized that status. Justice Taney’s logic was, ironically,

fueled by “his expansive understanding of what citizenship entailed.” Foner, The

Second Founding 14. Granting Black persons the status United States citizen would

guarantee:

      the right to enter every other State whenever they pleased, singly or in
      companies, without pass or passport, and without obstruction, to
      sojourn there as long as they pleased, to go where they pleased at every
      hour of the day or night without molestation, unless they committed
      some violation of law for which a white man would be punished; and
      it would give them the full liberty of speech in public and in private
      upon all subjects upon which its own citizens might speak; to hold
      public meetings upon political affairs, and to keep and carry arms
      wherever they went.
Dred Scott, 60 U.S. (19 How.) at 417. It was precisely because citizenship carried

with it so many precious rights—to freely travel, to assemble, to speak, and to carry

arms—that Justice Taney insisted that it must be denied to Black persons.



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      The shameful reasoning of the Dred Scott majority was fiercely and

contemporaneously opposed by Black persons claiming rights for themselves based

upon the principle of birthright citizenship. Thus, for example, James McCune

Smith, “a black physician, author, and antislavery advocate, carefully dissected

Taney’s reasoning, citing legal precedents going back to ‘the annals of lofty Rome’

to demonstrate that all free persons born in the United States, black as well as white,

‘must be citizens.’” Foner, The Second Founding 14 (citing Anglo-African Magazine

(May 1859), 144-50). In the decades before the Civil War, Black advocates

organized around and promoted the principle of birthright citizenship. Id. at 13-14.

Free Black persons “seized upon the Constitution’s requirement that the president

be a ‘natural born Citizen’ to argue that American citizenship derived from place of

birth, not ancestry or race.” Id. at 13 (citing Donald G. Nieman, The Language of

Liberation: African Americans and Equalitarian Constitutionalism, 1830–1950, in

Nieman ed., The Constitution, Law, and American Life: Critical Aspects of the

Nineteenth-Century Experience (1992)).

      Justice Taney’s reasoning was also rejected by many of his contemporaries,

on and off the Court. Writing in dissent, Justice Benjamin Curtis noted that, if the

guarantee of citizenship was not fixed by birth under the Constitution, Congress

could “select classes of persons within the several States” for the favored status of

citizen while excluding others, and in so doing, destroy the democratic and

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republican character of the county. 60 U.S. (19 How.) at 577 (Curtis, J., dissenting).

In another forceful dissent, Justice John McLean insisted that “birth on the soil of a

country both creates the duties and confers the rights of citizenship” and that the

Constitution requires that “citizenship may be acquired by birth.” 60 U.S. (19 How.)

at 576, 578 (McLean, J., dissenting). In response to the decision, the state legislature

of Justice McLean’s home state of Ohio “adopted a resolution declaring that ‘every

free person, born within the limits of any state of this Union, is a citizen thereof.’”

Foner, The Second Founding 14.

      B.     The Fourteenth Amendment enshrined birthright citizenship to
             overturn the monstrous error of Dred Scott.

      Following the Civil War, the Fourteenth Amendment was ultimately adopted

as a complete repudiation of the logic of Dred Scott. Under its Citizenship Clause,

“[b]irthright citizenship is guaranteed” and “[t]hat birthright is protected no less for

children of undocumented persons than for descendants of Mayflower passengers.”

James C. Ho, Defining “American,” Birthright Citizenship and the Original

Understanding of the 14th Amendment, 9 Green Bag 2d 367, 368 (2006). According

to Senator Jacob Howard of Michigan, who managed the passage of the Fourteenth

Amendment in the Senate, the Clause was meant to “settle the great question of

citizenship” once and for all. Cong. Globe, 39th Cong., 1st Sess. 2890 (1866). As

Sen. Howard explained, the framers of the Fourteenth Amendment wanted to “put

this question . . . beyond the legislative power, beyond the reach of [those] who
                                           8
would pull the whole system up by the roots and destroy it.” Cong. Globe, 39th

Cong., 1st Sess. 2896 (1866).

      Indeed, the Supreme Court has long recognized that it is “undeniable” that the

purpose and language of the Fourteenth Amendment “put citizenship beyond the

power of any governmental unit to destroy.” Afroyim v. Rusk, 387 U.S. 253, 263

(1967). Consistent with that recognition, the Supreme Court has correctly and

repeatedly held for more than a century that the Citizenship Clause stands for “the

fundamental rule of citizenship by birth within the dominion of the United States,

notwithstanding alienage of parents[.]” Wong Kim Ark, 169 U.S. at 688; see also,

e.g., INS v. Rios-Pineda, 471 U.S. 444, 446 (1985) (recognizing that a child of two

undocumented immigrants “was a citizen of this country” as a result of being “born

in the United States”); Perkins v. Elg, 307 U.S. 325, 329 (1939) (“[A] child born

here of alien parentage becomes a citizen of the United States.”). That understanding

remains as correct today as it was when the Court issued its decision in Wong Kim

Ark. The unchanging meaning of the Citizenship Clause dictates that U.S.-born

children of parents who lack permanent legal status in the United States, including

wholly undocumented persons, are entitled to the full guarantees of United States

citizenship.




                                         9
   II.        BIRTHRIGHT CITIZENSHIP ENSURES AN EQUAL RIGHT TO
              PARTICIPATION IN THE POLITY AND GUARANTEES ALL
              AMERICANS A REPRESENTATIVE GOVERNMENT
         The Fourteenth Amendment’s guarantee of birthright citizenship has, over

generations, continued to powerfully protect the rights of all Americans. Indeed,

birthright citizenship remains a key that unlocks equal membership and participation

in the polity for all, regardless of parentage.

         A.     Birthright citizenship makes equal participation in civic life
                possible.
         Citizenship brings with it the right and promise of the franchise. The right to

vote is essential to our democratic system of government and is “preservative of all

rights.” Harper v. Virginia Bd. of Elections, 383 U.S. 663, 667 (1966); see, e.g., Yick

Wo v. Hopkins, 118 U.S. 356, 370 (1886). The promise of the right to vote,

guaranteed to all through birthright citizenship, found its Reconstruction-era

culmination in passage of the Fifteenth Amendment, which wrote into the

Constitution the “fundamental principle” that state and federal governments “may

not deny or abridge the right to vote on account of race.” Rice v. Cayetano, 528 U.S.

495, 512 (2000). The Fifteenth Amendment was to be “the capstone in the great

temple of American freedom,” Cong. Globe, 40th Cong., 3rd Sess. 724 (1869), that

would “make every citizen equal in rights and privileges.” Id. at 672. There could be

no such capstone, of course, without birthright citizenship.



                                           10
      Under the requirements set by the Constitution, birthright citizenship grants

to U.S.-born children the possibility of becoming the head of the federal executive

branch, as President of the United States. U.S. Const. art. II, § 1, cl. 5. But the

participation rights unlocked by birthright citizenship are not limited to the rights to

vote or run for office. As a land of immigrants, non-citizens of course enjoy many

of the Constitution’s core protections—including, inter alia, free speech and due

process. But citizenship opens the door to a wide array of further opportunities for

civic participation, from jury service to certain forms of employment in the public

service. The Supreme Court has upheld laws that limit the employment of non-

citizens in the police force, as peace officers, and as public school teachers because

such public functions “go to the heart of community governance.” Karen Nelson

Moore, Aliens and the Constitution, 88 N.Y.U. L.R. 801, 811-12 (2013); see also

Cabell v. Chavez-Salido, 454 U.S. 432, 439 (1982); Ambach v. Norwick, 441 U.S.

68, 75-76 (1979); Foley v. Connelie, 435 U.S. 291, 295 (1978).

      Birthright citizenship also provides opportunities for military service.

Undocumented persons generally may not serve. Those who have immigrated

through regular pathways may join the U.S. armed forces, and by long tradition,

military service has provided a pathway to U.S. citizenship for service members and

their families. Indeed, since 2002, more than 187,000 members of the military have




                                          11
become naturalized citizens. 1 This pathway to naturalization recognizes the

sacrifices and contributions of immigrant service members, and ensures that their

essential contributions to the country are equally recognized through full

membership in the democratic polity. The military has depended on the talents of

these service members. “Without the contributions of immigrants, the military could

not meet its recruiting goals and could not fill its need for foreign‐language

translators, interpreters, and cultural experts,” wrote Margaret D. Strock, a retired

Lieutenant Colonel in the U.S. Army Reserve. See Stock, Essential to the Fight,

Immigrants in the Military Eight Years After 9/11, American Immigration Council

(2009). The Citizenship Stripping Order would ban countless children born and

raised in the United States from joining the military to protect the only country they

have ever known.

      The U.S. Department of Homeland Security “recognize[s] the important

sacrifices made by U.S. service members, veterans, enlistees, and their families”

and, pursuant to authority granted to the Secretary of the U.S. Department of

Homeland Security at 8 U.S.C. § 1182(d)(5)(A), may provide pathways for parole

in place and deferred action for undocumented family members of active-duty,




1
  U.S. Citizenship and Immigration Services, Military Naturalization Statistics,
available at https://perma.cc/9QG6-WJK2.
                                         12
reserve, and veteran service members. 2 Parole in place allows family member such

as parents, a spouse, or children, who entered the U.S. without inspection, to remain

lawfully in the country and potentially adjust their status to lawful permanent

residency. 3 Deferred action is a form of prosecutorial discretion to defer removal

against an individual for a certain period of time. 4 The Citizenship Stripping Order

is at odds with both of these pathways that encourage stability and recognize the

extraordinary sacrifices and contributions of military service in mixed-immigration

status families.

      B.     Ending birthright citizenship would deprive millions of Americans
             of the right to a representative government.

      Just as passage of the Reconstruction Amendments unleashed fundamental

changes in American democracy, so too would ending birthright citizenship, in that

it would be a defining setback for democratic equality. The Citizenship Stripping

Order would effectuate a return to a Dred Scott-like constitutional order, rendering

many Americans effectively stateless, locked out of the polity, and without the right

even to have rights. Indeed, ending birthright citizenship would deprive millions of

Americans the foundational right to a representative government.




2
  U.S. Citizenship and Immigration Services, Discretionary Options for Miliary
Members, Enlistees, and Their Families, available at https://perma.cc/4B39-95QD.
3
  See id.
4
  See id.
                                         13
      Echoed in the rallying cries that spurred the American Revolution, the right to

a representative government has been a foundational aspect of the social compact

between the American people and their political institutions since the founding. See

James Otis, The Rights of the British Colonies Asserted and Proved (1763), available

at https://perma.cc/2E7Q-LWWD. When James Otis decried that taxation without

representation was little more than tyranny, his grievances were lodged not merely

at the prospect of additional taxes, but at a system of government that had become

wholly unaccountable to the people of the soon-to-be fledging nation. Id. His critique

spurred the drumbeat of revolution and later became embedded in the very structure

of American government. Id.

      Today, the architecture of the federal Constitution is designed to ensure that

all Americans enjoy a representative government: one that, to quote James Madison,

“derives all its powers directly or indirectly from the great body of the people.” The

Federalist No. 39 (James Madison). At the federal level, Article I, Section 2

establishes that members of the House of Representatives shall be “chosen…by the

People of the several States”; while the Seventh Amendment ensures that Senators

“[shall be] elected by the people [of each state]”. U.S. Const. art. I, § 2; U.S. Const.

amend. XVII. At the state level, the founders drafted Article IV, Section 4 to

explicitly promise the American people that “[t]he United States shall guarantee to




                                          14
every State in this Union a Republican Form of Government.” U.S. Const. art. IV, §

4.

      The Reconstruction Amendments, together with the Nineteenth and Twenty-

Sixth Amendments, further enshrined the core principle that the American political

system is one where “the people rule and do so with equal political authority.” 5 The

federal judiciary has in turn guarded this precious right to representative

government. This is most notable in legislative apportionment cases where the

Supreme Court has time and time again upheld the principle of “one person, one

vote” on the guarantee embedded within the Equal Protection Clause that every vote

must be given substantially the same weight as that of any other vote in

congressional, state, and local elections.

      In Gray v. Sanders, the Supreme Court famously declared “the conception of

political equality from the Declaration of Independence to Lincoln's Gettysburg

Address, to the Fifteenth, Seventeenth, and Nineteenth Amendments can mean only

one thing—one person, one vote.” 372 U.S. 368, 381 (1963). There, the Court

evaluated Georgia’s county unit system which created a voting schema that weighed

rural votes more heavily than urban votes. Id. at 370-71. The Court struck down the

system as violative of the Equal Protection Clause, noting that the Constitution


5
 Lyle Denniston, Constitution Check: What does One Person One Vote Mean Now?,
available at https://perma.cc/G55Q-TK9A.

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guaranteed equal voting power with the only permissible exceptions being the

allocation of Senators irrespective of population and the use of the electoral college

in presidential elections. Id. at 380.

      Likewise, in Reynolds v. Sims, the Supreme Court reaffirmed the right of

Americans to representative government based on “the conception of…one person,

one vote.” 377 U.S. 533, 558 (1964) (quoting Gray, 372 U.S. at 380). In Reynolds,

the Court found that the Alabama State Legislature had violated the Equal Protection

Clause by failing to apportion its legislative districts on a population basis, noting

that “the Equal Protection Clause guarantees the opportunity for equal participation

by all voters in the election of state legislators.” Id. at 566. To quote Chief Justice

Warren, writing on behalf of the majority:

      Legislators represent people, not trees or acres. Legislators are elected
      by voters, not farms or cities or economic interests. As long as ours is a
      representative form of government, and our legislatures are those
      instruments of government elected directly by and directly
      representative of the people, the right to elect legislators in a free and
      unimpaired fashion is a bedrock of our political system.
Id. at 562; see also, e.g., Roman v. Sincock, 377 U.S. 695 (1964) (holding that the

Delaware legislative apportionment schema violated the Equal Protection Clause for

failing to apportion the seats in its bicameral legislature substantially on a population

basis); WMCA, Inc v. Lomenzo, 377 U.S. 633 (1964) (holding that New York’s

system of legislative apportionment violated the Equal Protection Clause because


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neither house of the New York Legislature was apportioned sufficiently on a

population basis); Moore v. Ogilvie, 394 U.S. 814, 819 (1969) (striking down an

Illinois legislative apportionment plan on equal protection grounds because it

“discriminate[d] against the residents of the populous counties of the State in favor

of rural sections”).

      The changes to the nature and structure of the democratic order that the

Citizenship Stripping Order aims to unleash would be devastating. The Executive

Order threatens to strip millions of U.S.-born children of the right to representative

government in the coming decades. See Jennifer Van Hook & Michael Fix, The

Demographic Impacts of Repealing Birthright Citizenship, Migration Policy

Institute 1, 4 (2010). Stripping away citizenship means, of course, stripping away

the fundamental right to vote. But the Executive Order also threatens to undermine

the promise of a representative government in another major way—through

apportionment.

      Even though noncitizens have been counted in every single U.S. Census since

the first one in 1790, there have been both legislative and executive attempts to

exclude them from the apportionment count. Most recently—and on the very same

day he signed the birthright citizenship executive order—President Trump signaled

his intent to once again try to illegally exclude undocumented immigrants from the

decennial census by rescinding a prior executive order affirming that the

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Constitution requires all persons, regardless of immigration status, be counted for

apportionment. 6

      Stripping people of citizenship also creates a significant risk that those

affected by the Executive Order will be undercounted in the decennial census.

Undocumented immigrants have long been considered a hard-to-count group by the

Census Bureau. 7 A Census Bureau report found that “legal status is a key issue in

many communities with larger immigrant populations” because “[n]ot only are these

persons difficult to match via administrative records due to lack of social security

numbers, but they are also fearful of filling out their census forms because they are

afraid of detention and deportation if located by the government.” Id. at 10.

      Thus, the Executive Order creates a real risk that birthright citizens will, at

worst, be entirely excluded from the apportionment population or, at best, be

significantly undercounted, ultimately depriving them of a representative

government in the halls of Congress. In no uncertain terms, the demise of birthright

citizenship would “set in motion the creation of a self-perpetuating class of

unauthorized immigrants who would be excluded from social membership for




6
  See President Donald J. Trump, Initial Rescissions of Harmful Executive Actions
Executive Order, available at https://perma.cc/QH3F-NHR7.
7
   Final Report: National Advisory Committee on Racial, Ethnic, and Other
Populations, Administrative Records, Internet and HTC Population Working
Group,” U.S. Census Bureau, (2016), available at https://perma.cc/L474-MC7L.
                                         18
generations.” See Van Hook & Fix, The Demographic Impacts of Repealing

Birthright Citizenship at 1.

        The harms of this exclusion would also extend beyond those directly impacted

by the Executive Order. Undercounting or outright exclusion of birthright citizens

from the census count would also likely cause states to lose Congressional seats. 8

When a community has fewer Congressional seats than its population deserves,

everyone in that community has diminished representation.

                                        ***
        As the district court here correctly held, the Citizenship Stripping Order is

patently unconstitutional. “In America, a country that rejected monarchy, each

person is born equal, with no curse of infirmity, and with no exalted status, arising

from the circumstance of his or her parentage.” Legis. Denying Citizenship to

Certain Children Born in the United States, 19 Op. O.L.C. 340, 348 (1995). The

President has no power or authority to destroy this tradition and fundamentally alter

our republic and its guarantees of liberty for all. The Citizenship Stripping Order

illegally infringes everyone’s right to representative government and must be struck

down.




8
 Jeffrey S. Passel and D’Vera Cohn, “How removing unauthorized immigrants from
census statistics could affect House reapportionment,” Pew Research Center (July
24, 2020), https://perma.cc/B4BC-AXYL.
                                          19
                                  CONCLUSION
      For the foregoing reasons, this Court should affirm the district court’s issuance

of a preliminary injunction.

Date: June 17, 2025                           Respectfully submitted,
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                      CERTIFICATE OF COMPLIANCE

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      App. P. 29(a)(5) because this brief contains 4397 words, excluding the items
      exempted by FRAP 32(f). The brief’s type size and typeface comply with
      FRAP 32(a)(5) and (6).

   2. This brief has been prepared in a proportionally spaced typeface using
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Signature: /s/ Anna M. Baldwin                       Date: June 17, 2025




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      I hereby certify that on June 17, 2025, I electronically filed the foregoing

with the Clerk of the Court for the U.S. Court of Appeals for the First Circuit by

using the appellate CM/ECF system. This filing corrects the original June 6, 2025,

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